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                Exhibit D
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AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                       __________  District of
                                                                            of Illinois
                                                                               __________

                       GROUPON, INC.,                                          )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      1:21-cv-06082
                           SUNG SHIN,                                          )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:            Yelp, Inc., C/O James Daire, Litigation Counsel, Yelp, Inc., 140 New Montgomery Street, 9th Floor, San
                                                Francisco, CA 94105, jdaire@yelp.com
                                                       (Name of person to whom this subpoena is directed)

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      u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
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WKHVHPDWWHUV 3OHDVHVHH$SSHQGL[$

 Place: via Zoom (dial-in instructions to sent)                                        Date and Time:


          The deposition will be recorded by this method:

      u Production: You, or your representatives, must also bring with you to the deposition the following documents,
        electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
        material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Groupon, Inc.
                                                                        , who issues or requests this subpoena, are:
.HYLQ0&ORXWLHU(VT6KHSSDUG0XOOLQ5LFKWHU +DPSWRQ//3:0DGLVRQ6WWK)ORRU&KLFDJR,OOLQRLV
NFORXWLHU#VKHSSDUGPXOOLQFRP  

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 1:21-cv-06082

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           APPENDIX A

                            DEPOSITION TOPICS TO YELP, INC.

                                    Definitions and Instructions

        A.      “Plaintiff” and “Groupon” refer to Groupon, Inc. and includes, without limitation,
all parents, subsidiaries, affiliates, divisions, predecessors, successors or assigns, and its and their
respective officers, directors, shareholders, partners, members, employees, agents, accountants,
advisors, contractors, representatives, and attorneys, and all persons who acted or purported to act
on behalf of Groupon.

       B.      “Defendant” and “Shin” refer to Sung Shin and his family, heirs, executors, and
administrators as well as any corporations, limited liability companies, limited liability
partnerships, or other entities owned, in whole or part, or controlled by Shin, any Person acting for
or on behalf of or at the request of Shin, or any Person under Shin’s authority or control.

         C.      “Yelp” means Yelp, Inc. and includes, without limitation, all parents, subsidiaries,
affiliates, divisions, predecessors, successors or assigns, and its and their respective officers,
directors, shareholders, partners, members, employees, agents, accountants, advisors, contractors,
representatives, and attorneys, and all persons who acted or purported to act on behalf of Yelp.

        D.      “Documents” include, by way of illustration only and not by way of limitation, the
following, whether printed or reproduced by any process, or written, produced by hand or by any
type of electronic means, specifically including e-mail and text or SMS messages (whether or not
ever reduced to a hard copy format), and whether or not claimed to be privileged or otherwise
excludable from discovery, namely: notes; correspondence; Facebook posts or messages; LinkedIn
posts or messages; communications of any nature; telegrams; memoranda; notebooks of any
character; summaries or records of personal conversations; diaries; routing slips or memoranda;
reports; publications; photographs; minutes or records of meetings; transcripts of oral testimony
or statements; reports and/or summaries of interviews; reports and/or summaries of investigations,
agreements and contracts, including all modifications and/or revisions thereof; reports and/or
summaries of negotiations; court papers; brochures; pamphlets; press releases; drafts of, revisions
of drafts of, translations of any document; tape recordings; records and dictation belts. Any
document with any marks on any sheet or side thereof, including by way of illustration only and
not by way of limitation, initials, stamped indicia, any comment or any notation of any character
and not a part of the original text, or any reproduction thereof.

        E.      “Communications” means any exchange or transfer or information whether
written, oral, graphic, electronic or in any other form, including metadata.

       F.     The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of the discovery request all responses that
might otherwise be construed to be outside of its scope.

        G.       The terms “all” and “each” shall both be construed as all and each.


 SMRH:4864-2278-3492.1
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         H.    “Verified Complaint” refers to the Verified Complaint Plaintiff Groupon, Inc.
filed against Defendant Sung Shin in the United States District Court for the Northern District of
Illinois on November 12, 2021 captioned Groupon, Inc. v. Sung Shin, 21-CV-6082.

        I.       The use of the singular form of any word includes the plural and vice versa.

        J.    The time period covered by these requests, unless indicated otherwise in a
specific request, is from April 1, 2021 through the Present.

                                               Topics

        1.       All Communications between Yelp and Shin relating to Shin’s recruitment to

and/or application for employment with Yelp.

        2.       All Communications between Yelp and Shin relating to Shin’s employment with

Yelp.

        3.       All Communications between Yelp and Shin relating to Shin’s position(s) and

duties and responsibilities with Yelp.

        4.       Yelp’s recruitment for the Lead Product Management position for Yelp’s

Enterprise and Multi-Location - Yelp Audiences and In-store Measurement Group and/or the

position for which Shin will hold at Yelp.

        5.       Yelp’s recruitment of Shin.

        6.       Shin’s position at Yelp.

        7.       From January 1, 2014 through the Present, Yelp’s merchant and/or client

advertising business, including, but not limited to, its processes, methods, clients, and competitors.

        8.       From January 1, 2014 through the Present, Yelp’s “Yelp Audiences” platform.

        9.       From January 1, 2014 through the Present, Yelp’s internal and external

communications comparing Yelp’s services and/or offerings to Groupon’s services and/or

offerings.




 SMRH:4864-2278-3492.1                            2
